Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 1 of 25




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 11-CIV-20427-WILLIAMS/TURNOFF


   DISNEY ENTERPRISES, INC.,
   TWENTIETH CENTURY FOX FILM CORPORATION,
   UNIVERSAL CITY STUDIOS PRODUCTIONS LLLP,
   COLUMBIA PICTURES INDUSTRIES, INC., and
   WARNER BROS. ENTERTAINMENT INC.,

   Plaintiffs,

   v.

   HOTFILE CORP., ANTON TITOV, and
   DOES 1-10.

    Defendants.
                                           /

   HOTFILE CORP.,

   Counterclaimant,

   v.

   WARNER BROS. ENTERTAINMENT INC.,

   Counterdefendant.
    /

         PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT
        HOTFILE CORPORATION’S MOTION FOR PARTIAL SUMMARY JUDGMENT
         BASED ON THE DIGITAL MILLENNIUM COPYRIGHT ACT SAFE HARBOR



                                  [CONFIDENTIAL]
                 [FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER]
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 2 of 25




                                                     TABLE OF CONTENTS

   TABLE OF AUTHORITIES .......................................................................................................... ii

   CITATION LEGEND .................................................................................................................... iv

   PRELIMINARY STATEMENT .....................................................................................................1

   ARGUMENT ...................................................................................................................................2

   I.        HOTFILE SEEKS AN IMPROPER ADVISORY OPINION. ............................................3

   II.       HOTFILE CANNOT SEEK PARTIAL SUMMARY JUDGMENT BY
             SPLITTING UP PLAINTIFFS’ CLAIMS TEMPORALLY. ..............................................6

   III.      HOTFILE IS LIABLE FOR THE POST-COMPLAINT INFRINGEMENTS IT
             INDUCED BY ITS PRE-COMPLAINT CONDUCT. ........................................................8




                                                                        i
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 3 of 25




                                                     TABLE OF AUTHORITIES

   CASES

   In re Aimster Copyright Litigation, 334 F.3d 643 (7th Cir. 2003) ................................................11

   ALS Scan, Inc. v. RemarQ Communities, Inc., 239 F.3d 619 (4th Cir. 2001) ...............................11

   Chastain v. AT&T, 558 F.3d 1177 (10th Cir. 2009) ........................................................................3

   CIVIX-DDI, L.L.C. v. Cellco Partnership, 387 F. Supp. 2d 869 (N.D. Ill. 2005) .......................4, 6

   Columbia Pictures Industries, Inc. v. Fung, No. CV 06-5578 SVW, 2010 U.S. Dist.
      LEXIS 91169 (C.D. Cal. May 20, 2010) ...............................................................................8, 9

   Columbia Pictures Industries, Inc. v. Fung, No. CV 06-5578 SVW, 2009 WL 6355911
      (C.D. Cal. Dec. 21, 2009) ........................................................................................................11

   DF&R Corp. v. American International Pacific Industries Corp., 830 F. Supp. 500 (D.
     Minn. 1993)................................................................................................................................6

   Eagle Comtronics, Inc. v. John Mezzalingua Associates, Inc., 198 F.R.D. 351 (N.D.N.Y.
      2000) ......................................................................................................................................5, 6

   Fox v. Good Samaritan L.P., 801 F. Supp. 2d 883 (N.D. Cal. 2010), aff’d, No. 10-15989,
      2012 WL 345894 (9th Cir. Feb. 3, 2012) ..................................................................................3

   Golden Blount, Inc. v. Robert H. Peterson Co., 438 F.3d 1354 (Fed. Cir. 2006)............................8

   Howe v. Baker, 796 F.2d 1355 (11th Cir. 1986) ..............................................................................3

   Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197 (C.D. Cal.
      2007) .............................................................................................................................. 8, 10-11

   Newman-Green, Inc. v. Alfonzo-Larrain R., 612 F. Supp. 1434 (N.D. Ill. 1985) ...........................7

   Ortiz v. Lopez, 688 F. Supp. 2d 1072 (E.D. Cal. 2010) ...................................................................3

   Rasmussen v. City of New York, 766 F. Supp. 2d 399 (E.D.N.Y. 2011) .........................................7

   SEC v. Liberty Capital Group, Inc., 75 F. Supp. 2d 1160 (W.D. Wash. 1999) ...............................7

   St. Paul Mercury Ins. Co. v. FDIC, 2010 U.S. Dist. LEXIS 30930 (S.D. Fla. Mar. 30,
       2010) ..........................................................................................................................................3

   Zimmer Technology, Inc. v. Howmedica Osteonics Corp., 476 F. Supp. 2d 1024 (N.D.
      Ind. 2007) ...................................................................................................................................6




                                                                            ii
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 4 of 25




   OTHER AUTHORITIES

   11 James Wm. Moore, Moore’s Federal Practice § 56.05[1][a] (3d ed. Supp. 2011) ................ 3-4

   10B Charles Alan Wright et al., Federal Practice & Procedure § 2736 (3d ed. 1998) ..................7




                                                    iii
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 5 of 25




                                        CITATION LEGEND

          1.      “Compl.” shall refer to plaintiffs’ Complaint, filed Feb. 8, 2011 (Dkt. #1).
          2.      “Foster Decl.” shall refer to the declaration of Dr. Ian Foster, dated and filed
   February 17, 2012, in support of Plaintiffs’ Motion for Summary Judgment Against Defendants
   Hotfile Corp. and Anton Titov, available publicly at Docket No. 325-17.
          3.      “HF Mot.” shall refer to defendant Hotfile Corporation’s Motion and
   Memorandum of Law for Partial Summary Judgment Based on the Digital Millennium
   Copyright Act Safe Harbor, dated February 17, 2012, available publicly at Docket No. 318.
          4.      “HF SUF” shall refer to specific paragraph numbers of defendant Hotfile
   Corporation’s Statement of Undisputed Material Facts in Support of its Motion and
   Memorandum of Law for Partial Summary Judgment Based on the Digital Millennium
   Copyright Act Safe Harbor, dated February 17, 2012available publicly at Docket No. 319.
          5.      “Opp. SUF” shall refer to specific paragraph numbers of uncontroverted facts in
   Plaintiffs’ Counterstatement of Material Facts in Opposition to Hotfile’s Motion for Partial
   Summary Judgment Based on the Digital Millennium Copyright Act Safe Harbor.
          6.      “Pls. Mot.” shall refer to Plaintiffs’ Motion for Summary Judgment Against
   Defendants Hotfile Corp. and Anton Titov, dated February 17, 2012, available publicly at
   Docket No. 322.
          7.      “PSUF” shall refer to specific paragraph numbers of uncontroverted facts in
   Plaintiffs’ Statement of Uncontroverted Facts submitted in support of Plaintiffs’ Motion for
   Summary Judgment Against Defendants Hotfile Corp. and Anton Titov, dated February 17,
   2012, available publicly at Docket No. 323.
          8.      “Wold Decl.” shall refer to the declaration of Dr. Erling Wold, dated February 15,
   2012, and filed on February 17, 2012 in support of Plaintiffs’ Motion for Summary Judgment
   Against Defendants Hotfile Corp. and Anton Titov, available at Docket No. 270-6.
          9.      “Yeh Ex. __,” shall refer to exhibits attached to the Declaration of Jennifer V.
   Yeh in Support of Plaintiffs’ Motion for Summary Judgment Against Defendants Hotfile Corp.
   and Anton Titov, dated February 16, 2012, as well as the Declaration of Jennifer V. Yeh in
   Support of Plaintiffs’ Opposition to Defendants’ Motions for Summary Judgment, filed herewith.
   For the convenience of the Court, the exhibits attached to the Yeh Declarations have been
   consecutively numbered, with Exhibits attached to the Yeh Declaration filed today continuing

                                                    iv
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 6 of 25




   from the numbering in the previous set of exhibits. Where appropriate, citations to such exhibits
   may also include pinpoint citations to the page number(s), and paragraph or line numbers,
   internal to the cited document. In some instances where individual Yeh Declaration exhibits
   were not paginated, page numbers have been added manually for ease of the Court’s reference.
   The parentheticals indicate the nature of the item cited – e.g., deposition transcripts (“dep.”) – or
   documents produced in discovery by various parties. Thus, by way of illustration, “Yeh Ex. 1
   (Titov dep.) at 200:1-10” would refer to the deposition of defendant Anton Titov, which could be
   found in Exhibit 1 to the Yeh Declaration, at page 200 of the transcript pages, at lines 1 through
   10. And, “Yeh Ex. 110 at 2” would refer to Exhibit 110 to the Yeh Declaration, and specifically
   the page of that Exhibit found at page 2 of the numbered Exhibit pages.




                                                     v
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 7 of 25




                                    PRELIMINARY STATEMENT

           Plaintiffs’ motion for summary judgment demonstrates why Hotfile is liable for copyright
   infringement and ineligible for DMCA safe harbor as a result of the unlawful conduct described
   in the complaint. Recognizing it does not have a viable defense as to that conduct, Hotfile, in its
   cross-motion, does not address the complaint allegations at all. Rather, Hotfile claims to have
   “reformed” and asks the Court for an improper advisory opinion that, in its allegedly new
   incarnation, it is immune from liability under copyright law. Hotfile’s motion is procedurally
   improper and a misuse of Rule 56.
           Hotfile seeks partial summary judgment on operational changes Hotfile claims to have
   made after plaintiffs brought suit and, in many cases, only within the past few weeks, after
   discovery closed. In doing so, Hotfile describes a service that is considerably different from the
   one plaintiffs sued – a service that, according to Hotfile: (i) has a robust repeat infringer policy
   that systematically terminates repeat infringers; (ii) no longer pays Hotfile Affiliates to upload
   copyright infringing content; and (iii) incorporates industry leading copyright filtering
   technology to mitigate infringement on its system. In short, instead of addressing the merits of
   plaintiffs’ complaint, Hotfile asks the Court to rule on conduct not raised in the pleadings or
   litigated by the parties, based on a version of the Hotfile service that did not exist when the
   complaint was filed and that was not the subject of discovery.
           Hotfile’s motion for summary judgment is improper for numerous reasons, any one of
   which requires that it be denied.
           First, Hotfile seeks an impermissible advisory opinion on alleged post-complaint
   changes, most of which were made within the past few weeks, after the close of discovery. It is
   black letter law that the Court cannot decide – much less grant summary judgment on – issues
   not raised in the pleadings or litigated in the case.
           Second, Hotfile is not be permitted under Rule 56 to carve up plaintiffs’ claims into
   multiple time periods with different facts for purposes of assessing liability. While Rule 56
   permits a party to seek partial summary judgment on distinct elements of a claim, it does not
   permit a party to go fact-by-fact, or week-by-week, seeking partial summary judgment in a
   piecemeal fashion.
           Third, beyond these procedural defects, Hotfile’s motion must fail because Hotfile
   remains secondarily liable for infringement it induced through the conduct alleged in the

                                                      1
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 8 of 25




   complaint, even if the resulting acts of direct infringement occurred post-complaint. Hotfile
   seeks to present itself as “reformed” based on post-complaint modifications to its system and
   business model. However, as courts considering similar claims of “reform” have observed, an
   infringer such as Hotfile cannot simply claim that it has “turned off” its purposeful inducement
   of infringement and thereby absolve itself of responsibility for subsequent infringements.
   Hotfile remains liable for those infringements.
           Hotfile’s motion for summary judgment is not just meritless, it is improper. Hotfile is not
   entitled to judgment, on summary judgment or at trial, on claims not at issue in this case.
   Hotfile’s motion should be denied.
                                               ARGUMENT
           Plaintiffs brought this action only after they sent notice after notice to Hotfile over the
   course of two years, identifying well over a million individual files as infringing, to no effect.
   The volume of infringing files on Hotfile grew so fast that no copyright owner could ever hope
   to fully mitigate the infringement by identifying individual files and taking them down through
   notices. Hotfile knows that, which is why Hotfile responds to takedown notices and provides
   “SRA” accounts: doing so allows Hotfile to claim (falsely) that it is cooperating with copyright
   holders, without having any meaningful effect on piracy. Indeed, Hotfile’s practice of only
   taking down files one by one, while actively incentivizing users to upload infringing files en
   masse, effectively challenged copyright holders to try to empty the ocean with a teaspoon while
   Hotfile continually filled it with a fire hose.
           The rampant, uncontrolled infringement on Hotfile was not a coincidence or a result of
   happenstance. Hotfile intended it. Thus, as alleged in the complaint, plaintiffs sued Hotfile
   because it:
       o   Overtly induced infringement through an Affiliate program that rewarded users for
           uploading copyright infringing content, Compl. ¶¶ 28-34;
       o   Knew that it was a notorious haven for copyright infringement, used for infringement and
           little else, Compl. ¶¶ 37, 44;
       o   Adopted a business model that depended on and profited from rampant copyright
           infringement, Compl. ¶¶ 24-27;
       o   Refused to take action against even its most blatant repeat infringers, Compl. ¶ 42;




                                                     2
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 9 of 25




        o   Eschewed using readily available technology to mitigate infringement, Compl. ¶¶ 39, 41;
            and
        o   Limited its “response” to this massive copyright infringement to removing files one by
            one, only when specifically identified by a copyright owner, Compl. ¶ 38.
   Those were the allegations raised in the complaint and litigated by the parties.
            Hotfile’s motion for partial summary judgment expressly disavows consideration of the
   actual claims in suit. Instead, Hotfile seeks summary judgment on alleged post-complaint
   changes that were neither raised by the pleadings nor litigated by the parties – and most of
   which, by Hotfile’s own account, took place within the past few weeks.1
   I.       HOTFILE SEEKS AN IMPROPER ADVISORY OPINION.
            It is black letter law that courts cannot render an advisory opinion on issues not placed in
   dispute in the litigation. See Howe v. Baker, 796 F.2d 1355, 1360-61 (11th Cir. 1986) (“A court
   ‘[has] no power to issue advisory opinions’”) (quoting North Carolina v. Rice, 404 U.S. 244, 246
   (1971) (bracket in original)); Chastain v. AT&T, 558 F.3d 1177, 1184 (10th Cir. 2009) (court
   may not issue advisory opinion to assess a “claim that has not been made”); St. Paul Mercury
   Ins. Co. v. FDIC, Case No. 08-21192-Civ-GARBER, 2010 U.S. Dist. LEXIS 30930, 26-27 (S.D.
   Fla. Mar. 30, 2010) (“the Court declines to issue an advisory opinion” as to “claims [that] are not
   at issue in this litigation”).
            Any post-complaint changes by Hotfile plainly were not raised in plaintiffs’ complaint or
   litigated in the case. As courts have routinely made clear, “[t]he issues on summary judgment
   are framed by the complaint. Indeed, the issues in the complaint guide the parties during
   discovery and put the defendant on notice of what evidence is necessary to defend against the
   allegations.” Ortiz v. Lopez, 688 F. Supp. 2d 1072, 1082 (E.D. Cal. 2010); see also Fox v. Good
   Samaritan L.P., 801 F. Supp. 2d 883, 896 (N.D. Cal. 2010) (“While a summary judgment motion
   does go beyond the pleadings in the sense that it tests the sufficiency of the evidence to support
   the allegations of the complaint, those allegations still serve to frame – and limit – the issues”),
   aff’d, No. 10-15989, 2012 WL 345894 (9th Cir. Feb. 3, 2012). “By framing the dispute, the


   1 In its motion, Hotfile makes various assertions about its pre-complaint conduct that are
   unsupported and mischaracterize the evidence, but which are not material to Hotfile’s motion on
   its post-complaint conduct. E.g., HF Mot. at 3-8. As relevant, plaintiffs will address Hotfile’s
   assertions in plaintiffs’ motion for summary judgment.


                                                     3
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 10 of 25




    pleadings affect the availability of summary judgment.” 11 James Wm. Moore et al., Moore’s
    Federal Practices § 56.05[1][a] (3d ed. Supp. 2011). Therefore, Hotfile cannot seek summary
    judgment on issues related to its post-complaint conduct, as a party “is not entitled to summary
    judgment on claims that are not part of th[e] dispute.” CIVIX-DDI, L.L.C. v. Cellco P'ship, 387
    F. Supp. 2d 869, 881 (N.D. Ill. 2005).
           Plaintiffs sued Hotfile based on its system and business model as they existed pre-
    complaint. The complaint does not address whether Hotfile is or would be liable based on the
    system and business model that Hotfile claims to have implemented post-litigation, and which
    apparently continues to change. Those alleged post-complaint changes simply present a different
    set of issues than those raised in the pleadings.2 Thus, for instance:
           1.      Hotfile claims to have made recent – and significant – changes to its “repeat
    infringer” practices even beyond the “three strikes” policy Hotfile claims to have adopted on
    February 18, 2011. Hotfile now claims that a year later, in February 2012, it eliminated its
    website Affiliate program altogether (presumably so it can argue that it no longer has an
    obligation to terminate repeat infringing Affiliate websites). HF SUF 28. Hotfile also claims to
    have “eliminated the ability of [unregistered] users to anonymously upload files.” Id. It also
    claims to have instituted some form of escalating punishment pursuant to which a first time
    offender must attend an online “copyright school.” Id. Hotfile asserts these as “material facts”
    that support its motion. Id. Yet, none of these alleged new policies was in place in February
    2011. Even accepting Hotfile at its word, none existed until a year later, in February 2012. Id.
    None was raised by the pleadings or contemplated in the complaint. None was subject to
    discovery – and, indeed, each of these changes was allegedly made well after discovery closed.
           2.      Hotfile further claims that in February 2012 it revamped the rewards system for
    its uploader Affiliate Program. According to Hotfile, instead of paying uploaders based on how
    many times their files are downloaded, now Hotfile “counts credits only based on premium



    2 Hotfile’s “voluntary” reforms within the past few weeks have nothing to do with a desire to
    mitigate copyright infringement. They are no doubt a reaction to the Megaupload indictment. In
    recent weeks, many download hubs similar to Megaupload and Hotfile have shut down entirely,
    stopped allowing downloads by anyone other than the account holder, or otherwise tried to
    distance themselves from Megaupload to avoid criminal prosecution. Yeh Ex. 145 (collecting
    media reports). Hotfile is no different.


                                                     4
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 11 of 25




    conversions (not download counts).” HF SUF 28. Facially, this revised Affiliate program still
    encourages users to upload “popular” content. Just like the old rewards program, the new
    program incentivizes Affiliates to upload the most popular content so as to attract as many users
    as possible to Hotfile, since more users mean more conversions to premium accounts.
    Regardless, this allegedly new version of the Affiliate Program, which Hotfile cites as a material
    fact supporting its motion, id., was not raised in the pleadings or contemplated in the complaint,
    and was not subject to discovery. By Hotfile’s account, it was adopted only a few weeks ago.
           3.      Hotfile also now claims to have implemented Vobile digital fingerprinting
    technology as the basis of a copyright filter to prevent uploads of infringing files. However,
    according to Hotfile, it did not incorporate Vobile’s vCloud9 until February 2012, after the close
    of discovery, following the limited adoption of another Vobile product in late summer 2011. HF
    SUF 25, 27. Plaintiffs have not had any ability to discover how, or even whether, Hotfile has
    implemented its alleged new copyright filter. Moreover,




                                                  Hotfile easily could ensure that substantial numbers
    of infringing files bypass the filter or otherwise “leak” through – all while touting, as it does
    here, that it has adopted sophisticated copyright filtering. Without discovery, the Court and
    plaintiffs have no way to evaluate Hotfile’s untested claims.3
           In the patent context, where this situation arises more frequently, courts routinely reject
    defendants’ efforts to seek summary judgment on post-complaint modifications to an allegedly
    infringing device. See, e.g., Eagle Comtronics, Inc. v. John Mezzalingua Assocs., Inc., 198
    F.R.D. 351 (N.D.N.Y. 2000) (summary judgment on whether product re-designed after


    3 Hotfile’s current DMCA motion is reminiscent of the DMCA motion that Hotfile repeatedly
    sought leave to bring at the outset of the case, before any discovery. The Court properly rejected
    Hotfile’s earlier attempts to present its DMCA defense on an undeveloped and sanitized record.
    And, indeed, discovery has demonstrated the unreliability of Hotfile’s untested assertions. For
    example, in Hotfile’s first substantive filing in this case, before any discovery, Titov filed a
    sworn declaration attesting that “Hotfile terminates the accounts of users who have repeatedly
    uploaded files that are or are asserted to be protected by copyright.” Yeh Ex. 9 (Feb. 27, 2011
    Titov Decl.) ¶ 13. Only through arduous discovery did the true – and very different – facts come
    to light. Pls. Mot. at 10-12; PSUF 2-5. There is no reason to believe that Hotfile’s current
    claims that it has “reformed” its practices post-complaint (and post-discovery) are any different.


                                                      5
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 12 of 25




    complaint was infringing denied as improper advisory opinion); DF&R Corp. v. American Int’l
    Pacific Industries Corp., 830 F. Supp. 500, 502 (D. Minn. 1993) ( “a declaration that
    [defendant’s] proposed alternative design . . . does not infringe” rejected as impermissible
    advisory opinion); see also CIVIX-DDI, 387 F. Supp. 2d at 881 (rejecting defendant’s attempt to
    move for summary judgment of noninfringement for non-asserted patent infringement claims);
    Zimmer Tech., Inc. v. Howmedica Osteonics Corp., 476 F. Supp. 2d 1024, 1037 (N.D. Ind. 2007)
    (denying plaintiff’s summary judgment motion because defendant “never asserted those
    invalidity arguments” and such a ruling would be “an improper advisory opinion”).
           In Eagle Comtronics, for example, the defendant sought summary judgment on whether a
    product redesigned after the complaint was infringing. In denying the motion, the Court
    observed that:
           [b]ecause defendant redesigned its [product] after the institution of this action, the
           amended complaint does not, nor could it, challenge the design of the new
           [product]. For this reason, the question of whether the redesigned filter infringes
           upon the . . . patent has not been placed before this court, and so there is no actual
           case or controversy regarding this specific filter. Absent th[is] essential
           requirement, defendant’s motion for partial summary judgment is actually a
           request for an advisory opinion.
    Eagle Comtronics, 198 F.R.D. at 354.
           The advisory opinion Hotfile seeks is no different from the one sought by the Eagle
    Comtronics defendant. At best, Hotfile’s arguments about post-complaint conduct are directed at
    the scope of injunctive relief, and are premature. For the same reasons as in Eagle Comtronics
    and the cases cited above, Hotfile’s motion should be denied.
    II.    HOTFILE CANNOT SEEK PARTIAL SUMMARY JUDGMENT BY SPLITTING
           UP PLAINTIFFS’ CLAIMS TEMPORALLY.
           Hotfile’s motion should be rejected for an independent reason: Hotfile has not brought a
    proper motion under Rule 56. Courts have squarely rejected motions for partial summary
    judgment under Rule 56(a) that merely seek piecemeal adjudication of specific facts. But that is
    precisely what Hotfile is doing here. Hotfile seeks a ruling on liability covering a period of one
    year – a year in which Hotfile admits many material facts changed even from the beginning of
    the year (February 2011) to the end of the year (February 2012), with most changes having
    occurred within just the past few weeks. See supra 4-5; HF SUF 21-23, 25-28. Hotfile’s attempt
    to “carve up” plaintiffs’ claims to seek piecemeal adjudication in this manner fundamentally
    misuses the Rule 56 summary judgment procedures.

                                                     6
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 13 of 25




           Courts permit partial summary judgment motions on entire elements or issues of a claim
    under Rule 56(a). See 10B Charles Alan Wright et al., Federal Practice and Procedure § 2736
    (3d ed. 1998) (court may consider issue of liability separately on partial summary judgment).
    However, courts reject summary judgment motions seeking piecemeal consideration of facts that
    underlie a claim as inefficient and contrary to the purpose of Rule 56. See SEC v. Liberty
    Capital Group, Inc., 75 F. Supp. 2d 1160, 1164 (W.D. Wash. 1999) (denying motion based on
    “piecemeal division” of facts); Rasmussen v. City of New York, 766 F. Supp. 2d 399, 404
    (E.D.N.Y. 2011) (Rule 56(a) “does not permit elimination of particular facts from the jury’s
    consideration”).
           The amendments to Rule 56 in December 2010, while clarifying the availability of partial
    summary judgment, do not begin to sanction Hotfile’s carving up of issues by fact and time:
    “Although [the amended] Rule 56 allows a party to seek summary judgment on part of a claim,
    the reference to ‘part’ is best understood as relating to either the entirety of liability, or damages,
    or at least a discrete element of damages.” Rasmussen, 766 F. Supp. 2d at 404. Thus, courts
    “do[] not permit the piecemealing of a single claim . . . simply by dividing it into different time
    periods.” Newman-Green, Inc. v. Alfonzo-Larrain R., 612 F. Supp. 1434, 1439 (N.D. Ill. 1985)
    (emphasis added).
           Hotfile does not seek summary judgment on an entire element or issue of plaintiffs’ claim
    or its defense, but rather a ruling as to whether it is entitled to DMCA safe harbor for a period of
    a single year, and based on a variety of factual changes occurring at different times over the
    course of that single year. Hotfile apparently would have the Court assess Hotfile’s compliance
    with each DMCA requirement as the material facts changed over time: e.g., Hotfile’s initial
    implementation of a “three-strikes” policy and belated termination of some repeat infringing
    users starting in February 2011, HF SUF 21-23, Titov Ex. 35 at 293; Hotfile’s preliminary
    experimentation with some Vobile technology in the summer of 2011, HF SUF 25; followed by
    Hotfile’s claimed fuller implementation of filtering a half a year later, HF SUF 26-27; Hotfile’s
    claimed further modifications to its “repeat infringer” policy in February 2012, HF SUF 28; and
    Hotfile’s claimed overhaul of its Affiliate Programs in February 2012, HF SUF 28. Hotfile,
    moreover, asks the Court to adjudicate the impact of these changes in a vacuum, without
    considering Hotfile’s pre-complaint inducement of infringement, and without the benefit of a
    discovery record to test Hotfile’s bare assertions.


                                                       7
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 14 of 25




             Hotfile’s motion is procedurally improper and should be denied.
    III.     HOTFILE IS LIABLE FOR THE POST-COMPLAINT INFRINGEMENTS IT
             INDUCED BY ITS PRE-COMPLAINT CONDUCT.
             Even if Hotfile’s motion were procedurally proper (and it is not), Hotfile’s motion should
    be denied because Hotfile remains liable for infringements it induced by its conduct prior to
    February 18, 2011, even if the acts of direct infringement occurred after the complaint was filed.
    As explained in plaintiffs’ motion for summary judgment, in the period prior to the complaint,
    defendants induced a massive amount of infringement by their users. Pls. Mot. at 29-32; PSUF
    16. Defendants spent two years building Hotfile as a destination to download infringing content,
    and continued doing so even after plaintiffs brought suit. Hotfile cannot claim DMCA safe
    harbor for its inducement of those post-complaint infringements, even if, as it claims, it changed
    some of its inducing practices.
             Courts that have considered this issue have made clear that past acts can induce
    infringement going forward. As the district court held on remand in Grokster:
             For a party to be liable for inducement, distribution may begin prior to any
             promotion of infringement, distribution and promotion can occur at the same
             time, and most critically, distribution can follow past promotion. This highlighted
             portion of the above sentence is crucial. As a matter of common sense, a
             successful inducer will sometimes have no need to repeat the infringing message
             ad infinitum. This is especially likely to be the case where the product in question
             is overwhelmingly used for infringing purposes, and requires little or no
             specialized training to operate. At a certain point, the inducer can simply
             continue to distribute the product without any additional active encouragement,
             recognizing that the marketplace will respond in turn. Thus, once the market has
             internalized the inducer’s promotion of infringement, the resulting infringements
             should be attributable to that defendant even though he/she no longer chooses to
             actively promote that message.
    Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, 518 F. Supp. 2d 1197, 1233-34 (C.D. Cal.
    2007) (emphasis in original); see also Columbia Pictures Indus., Inc. v. Fung, No. CV 06-5578
    SVW (JCx), 2010 U.S. Dist. LEXIS 91169, at *11 (C.D. Cal. May 20, 2010) ( “Defendants
    operated their websites as popular destinations for copyright infringement and etched their niche
    in the market for infringement” and therefore future infringements would follow past acts of
    inducement); Golden Blount, Inc. v. Robert H. Peterson Co., 438 F.3d 1354, 1362-63 (Fed. Cir.
    2006).




                                                      8
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 15 of 25




           In this case, defendants operated Hotfile as a popular destination for copyright
    infringement and “etched [their] niche in the market for infringement.” Fung, 2010 U.S. Dist.
    LEXIS 91169, at *11. For instance:
       o   Hotfile actively encouraged its users to upload and promote copyrighted content, paying
           its Affiliates greater amounts based on the number of downloads of a file. Pls. Mot. at 5-
           7; PSUF 16(a)(ii)-(iv). Hotfile now speaks of users providing “access to their files to co-
           workers, friends and family.” HF Mot. at 3. But in truth Hotfile’s business is based on,
           and Hotfile actively promoted, the mass distribution of files – i.e., downloads by the
           thousands. PSUF 16(a)(iii) & Yeh Ex. 60 at 1.
       o   Hotfile was used overwhelmingly for infringement – over 90% of downloads from
           Hotfile were of infringing content. PSUF 10(a)(i).
       o   Hotfile did not terminate even the most blatant repeat copyright infringers, though
                                                                                                    of
           Hotfile users had ten, 25 or even 100 or more infringement “strikes” from copyright
           owner notices, and yet Hotfile permitted them to continue infringing. Pls. Mot. at 11-12;
           PSUF 5(a).4
       o   Hotfile repeatedly provided technical assistance to users seeking to download
           copyrighted content. Pls. Mot. at 13; PSUF 9(c).
       o   Hotfile had full knowledge of the infringement permeating its site but permitted it to
           continue. Pls. Mot. at 13-15; PSUF 9 & 10. Indeed, Hotfile acknowledged




    4 Hotfile claims to have learned “for the first time” from reading the complaint in 2011 that its
    failure to implement a repeat infringer policy was problematic. HF Mot. at 8. That is simply
    disingenuous. In 2009, another copyright owner, Liberty Media, sued Hotfile and argued
    strenuously that Hotfile was not properly terminating repeat infringers. See Yeh Ex. 146 at 23-
    24. Hotfile did nothing to “reform” its practices then. Moreover, if Hotfile did not fully
    understand that it needed a meaningful repeat infringer policy,




                                                     9
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 16 of 25




       o   Hotfile built its business on the availability of infringing content to attract users so that it
           could try to sell those users “premium” accounts. That is the only way Hotfile makes
           money. PSUF 16(e) & 20.5
       o   Piracy was so fundamental to Hotfile’s business model that Hotfile did not even
           investigate using readily available “digital fingerprinting” technology to mitigate the
           infringement. PSUF 16(j). This technology was available and widely used from the day
           Hotfile launched. PSUF 16(j)(i); Foster Decl. ¶¶16-18; Yeh Ex. 130 (Wang dep.) at
           15:17-25; Wold Decl. ¶¶ 26-27.
           These incontrovertible facts are set forth in greater detail in plaintiffs’ motion for
    summary judgment (Docket #322), which is incorporated herein. They establish that Hotfile
    created a haven for infringing conduct. By the time plaintiffs filed the complaint, Hotfile was
    one of the top 100 websites in the world; it had attracted a massive user base of infringing
    uploaders and millions of users to download that infringing content. PSUF 10(a); Yeh Ex. 85.
    Defendants’ change in their repeat infringer policy in February 2011 may have removed some
    infringing uploaders, but it could not wholesale change the message that Hotfile was a
    destination for infringing content.6 As in Grokster, the overwhelming use of the site was
    infringing. Supra 9; Grokster, 518 F. Supp. 2d at 1234. As in Grokster, Hotfile “remains


    5 Hotfile presents a statistic to the effect that its users convert to “premium” subscriptions at
    greater “rates” when downloading noninfringing files than infringing files. HF Mot. at 16.
    Hotfile cites this to suggest that it had no incentive to encourage infringement. Even if Hotfile’s
    statistic is correct, its conclusion does not follow. Infringing files represent over 90% of what
    users download from Hotfile. PSUF 10(a)(i). The number of infringing files so dwarfs the
    number of noninfringing files that Hotfile of course would have a powerful incentive to
    encourage users to upload infringing files even if the rate of conversion was higher for
    noninfringing files. Hotfile could not sustain a business with noninfringing files. For proof, the
    Court need look no further


    6 There is also ample evidence that, even post-complaint, it was business as usual for Hotfile.
    For example, Hotfile continued to pay a website Affiliate

                                       Hotfile continued to provide technical assistance to users
    seeking blatantly copyrighted content. Yeh Ex. 28 at 16 (e.g., in May 2011, Hotfile provided
    technical assistance to a users seeking to download The Howard Stern Show). And, Hotfile user
    communications continued to identify countless specific infringing files. Yeh Ex. 144.


                                                      10
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 17 of 25




    inexorably linked to its historical efforts to promote infringement. The bell simply cannot be
    unrung.” 518 F Supp. 2d at 1235. And, as in Grokster, “[t]here is no difference between these
    [post-complaint] infringements and those that are consummated while the defendant is still
    engaging in the active promotion of infringement.” Id. at 1234.
           As plaintiffs explained in their motion for summary judgment, Hotfile is not entitled to
    DMCA safe harbor for infringements that it induced under the Grokster standard. Pls. Mot. at
    27-29. The DMCA’s safe harbor protections are strictly limited to “innocent” service providers
    who have done what they reasonable can to prevent copyright infringement on their systems.
    ALS Scan, Inc. v. RemarQ Cmtys., Inc., 239 F.3d 619, 625 (4th Cir. 2001); In re Aimster
    Copyright Litigation, 334 F.3d 643, 655 (7th Cir. 2003). “[I]nducement liability and the
    [DMCA] safe harbors are inherently contradictory.” Columbia Pictures Industries, Inc. v. Fung,
    No. CV 06-5578 SVW, 2009 WL 6355911, at *18 (C.D. Cal. Dec. 21, 2009); see also Pls. Mot.
    at 27-29.
           As a result, even if Hotfile’s motion were procedurally proper – which it is not – the
    Court could not grant Hotfile sweeping immunity for infringements after February 18, 2011.
    Because Hotfile continued to attract users to download infringing content even post-complaint,
    based on its purposeful conduct pre-complaint, Hotfile is liable for later infringement tied to its
    past inducing activities.
                                             CONCLUSION

           Hotfile’s motion for partial summary judgment should be denied.




                                                     11
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 18 of 25




    Dated: March 7, 2012               Respectfully submitted,

                                       By: __________________

                                           Karen L. Stetson
                                           GRAY-ROBINSON, P.A.
                                           1221 Brickell Avenue
                                           16th Floor
                                           Miami, FL 33131
                                           Telephone: (305) 416-6880
                                           Facsimile: (305) 416-6887

    MOTION PICTURE ASSOCIATION             JENNER & BLOCK LLP
     OF AMERICA, INC.                      Steven B. Fabrizio (Pro Hac Vice)
    Karen R. Thorland (Pro Hac Vice)       Duane C. Pozza (Pro Hac Vice)
    15301 Ventura Blvd.                    Luke C. Platzer (Pro Hac Vice)
    Building E                             1099 New York Ave., N.W.
    Sherman Oaks, CA 91403                 Suite 900
    Phone: (818) 995-6600                  Washington, DC 20001
    Fax: (818) 285-4403                    Facsimile: (202) 639-6066

                                           Attorneys for Plaintiffs
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 19 of 25




                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 7th Day of March, 2012, I served the following
    documents on all counsel of record on the attached service list via their email address(es)
    pursuant to the parties’ service agreement:
           Plaintiffs’ Memorandum of Law in Opposition to Defendant Hotfile Corporation’s
           Motion for Partial Summary Judgment Based on the Digital Millennium Copyright
           Act Safe Harbor

                                                         By: ___________________
                                                              Karen L. Stetson
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 20 of 25




                                         SERVICE LIST
                        Disney Enterprises, Inc., et al. v. Hotfile Corp. et al.
                               CASE NO. 11-CIV-20427-JORDAN

    FARELLA BRAUN + MARTEL LLP                       RASCO KLOCK
    Anthony P. Schoenberg                            Janet T. Munn
    tschoenberg@fbm.com                              jmunn@rascoklock.com
    Roderick M. Thompson                             283 Catalonia Ave., Suite 200
    rthompson@fbm.com                                Coral Gables, FL 33134
    N. Andrew Leibnitz                               Phone: 305-476-7101
    aleibnitz@fbm.com                                Fax: 305-476-7102
    Deepak Gupta
    dgupta@fbm.com                                   Attorney for Defendants Hotfile Corp. and
    Janel Thamkul                                    Anton Titov
    jthamkul@fbm.com
    235 Montgomery Street
    San Francisco, CA 94104
    Phone: 415-954-4400

    Attorneys for Defendants Hotfile Corp. and
    Anton Titov


    BOSTON LAW GROUP, PC
    Valentin Gurvits
    vgurvits@bostonlawgroup.com
    825 Beacon Street, Suite 20
    Newton Centre, MA 02459
    Phone: 617-928-1804

    Attorneys for Defendants Hotfile Corp. and
    Anton Titov
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 21 of 25




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 11-CIV-20427-WILLIAMS/TURNOFF


    DISNEY ENTERPRISES, INC.,
    TWENTIETH CENTURY FOX FILM CORPORATION,
    UNIVERSAL CITY STUDIOS PRODUCTIONS LLLP,
    COLUMBIA PICTURES INDUSTRIES, INC., and
    WARNER BROS. ENTERTAINMENT INC.,

    Plaintiffs,

    v.

    HOTFILE CORP., ANTON TITOV, and
    DOES 1-10.

     Defendants.
                                            /

    HOTFILE CORP.,

    Counterclaimant,

    v.

    WARNER BROS. ENTERTAINMENT INC.,

    Counterdefendant.
                                            /



             DECLARATION OF JENNIFER V. YEH IN SUPPORT OF PLAINTIFFS’
           OPPOSITION TO DEFENDANT ANTON TITOV’S MOTION FOR SUMMARY
         JUDGMENT AND TO DEFENDANT HOTFILE CORP.’S MOTION FOR PARTIAL
         SUMMARY JUDGMENT BASED ON THE DIGITAL MILLENNIUM COPYRIGHT
                                ACT SAFE HARBOR


                                   [CONFIDENTIAL]

                  [FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER]
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 22 of 25




               I, Jennifer V. Yeh, declare as follows:
          1.      I am an attorney at the law firm of Jenner & Block LLP, and counsel to the plaintiffs
    Disney Enterprises, Inc., Twentieth Century Fox Film Corporation, Universal City Studios
    Productions LLLP, Columbia Pictures Industries, Inc., and Warner Bros. Entertainment Inc. The
    statements made in this declaration are based on my personal knowledge including on
    information provided to me by colleagues or other personnel working under my supervision on
    this case. If called to testify, I would testify as follows:
          2.      Attached hereto as Exhibit 120 is a true and correct copy of excerpts of the deposition
    of                       taken on December 8, 2011 in the above-captioned case.
          3.      Attached hereto as Exhibit 121 is a true and correct copy of excerpts of the deposition
    of                       taken on December 7, 2011 in the above-captioned case.
          4.      Attached hereto as Exhibit 122 is a true and correct copy of excerpts of the deposition
    of Lance Griffin, taken on December 22, 2011 in the above-captioned case.
          5.      Attached hereto as Exhibit 123 is a true and correct copy of excerpts of the deposition
    of Braxton Perkins, taken on December 16, 2011 in the above-captioned case.
          6.      Attached hereto as Exhibit 124 is a true and correct copy of excerpts of the deposition
    of Vicki Solmon, taken on December 9, 2011 in the above-captioned case.
          7.      Attached hereto as Exhibit 125 is a true and correct copy of excerpts of the deposition
    of Betsy Zedek, taken on December 13, 2011 in the above-captioned case.
          8.      Attached hereto as Exhibit 126 is a true and correct copy of excerpts of the deposition
    of Michael Bentkover, taken on December 13, 2011 in the above-captioned case.
          9.      Attached hereto as Exhibit 127 is a true and correct copy of excerpts of the deposition
    of David Kaplan, taken on December 13, 2011 in the above-captioned case.
         10.      Attached hereto as Exhibit 128 is a true and correct copy of excerpts of the deposition
    of defendant Anton Titov, in his personal capacity and as Fed. R. Civ. P. 30(b)(6) representative
    of defendant Hotfile Corp., taken from Dec. 5 to Dec. 8, 2011 in the above-captioned case.
         11.      Attached hereto as Exhibit 129 is a true and correct copy of excerpts of the ESI
    deposition of defendant Anton Titov, as Fed. R. Civ. P. 30(b)(6) representative of defendant
    Hotfile Corp., taken on Nov. 17, 2011 in the above-captioned case.
         12.      Attached hereto as Exhibit 130 is a true and correct copy of excerpts of the deposition
    of Yangbin Wang, taken on December 22, 2011 in the above-captioned case.
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 23 of 25




        13.    Attached hereto as Exhibit 131 is a true and correct copy of an email from Roderick
    Thompson to Steven Fabrizio, dated December 31, 2011.
        14.    Attached hereto as Exhibit 132 is a true and correct copy of a document produced by
    defendants bearing bates label HF02855193.
        15.    Attached hereto as Exhibit 133 is the verification signature page of Defendants’
    Supplemental Reponses to Interrogatories Nos. 6 and 9, served in the above-captioned case on
    September 12, 2011.
        16.    Attached hereto as Exhibit 134 is a true and correct copy of a document produced by
    defendants bearing bates label HF02855182.
        17.    Attached hereto as Exhibit 135 are true and correct copies of Exhibits 5-6 to the
    deposition of                      taken on December 7, 2011 in the above-captioned case.
        18.    Attached hereto as Exhibit 136 are true and correct copies of Exhibits 7-8 to the
    deposition of                      taken on December 7, 2011 in the above-captioned case.
        19.    Attached hereto as Exhibit 137 is a true and correct copy of excerpts of the Transcript
    of Status Conference Hearing Before the Honorable William C. Turnoff, United States
    Magistrate Judge that took place in the above-captioned case on January 13, 2012.
        20.    Attached hereto as Exhibit 138 is a true and correct copy of a document produced by
    defendants bearing bates label HF02868393.
        21.    Attached hereto as Exhibit 139 is a true and correct copy of the Joint Motion and
    Memorandum of Law of the Parties For Voluntary Dismissal of Second and Third Counts of
    Hotfile’s First Amended Counterclaim and For Amendment of First Count, filed in the above-
    captioned case on September 22, 2011 (Dkt. # 151).
        22.    Attached hereto as Exhibit 140 is Plaintiffs’ Second Supplemental Response to
    Defendant Hotfile Corp.’s Interrogatory No. 1, served in the above-captioned case on October 3,
    2011, with the exhibits omitted.
        23.    Attached hereto as Exhibit 141 are true and correct copies of excerpts of takedown
    notices to Hotfile produced by Plaintiffs in the above-captioned case bearing bates labels as
    indicated on the documents.
        24.    Attached hereto as Exhibit 142 are true and correct copies of documents produced by
    Defendants in the above-captioned case bearing bates labels as indicated on the documents.




                                                      2
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 24 of 25




        25.    Attached hereto as Exhibit 143 is a true and correct copy of Exhibit 158 to the
    deposition of defendant Anton Titov, in his personal capacity and as Fed. R. Civ. P. 30(b)(6)
    representative of defendant Hotfile Corp., taken from Dec. 5 to Dec. 8, 2011 in the above-
    captioned case.
        26.    Pursuant to Rule 1006 of the Federal Rules of Evidence, attached hereto as Exhibit
    144 is a chart summarizing user communications sent to Hotfile after February 18, 2011, where
    the “lastdl” field in the user communication matches the title of a copyrighted work owned by
    plaintiffs. Persons under my supervision reviewed user communications produced by
    Defendants to identify communications where the “lastdl” entry corresponded with a copyrighted
    work owned by plaintiffs. The bates number of the user communication produced by defendants,
    the URL listed in the “lastdl” field, the date of the communication, and the corresponding title of
    plaintiffs’ copyrighted work has been summarized in Exhibit 144.
        27.    Attached hereto as Exhibit 145 are true and correct copies of news articles regarding
    the reaction of download hubs to the Megaupload indictment, printed on March 5, 2012 by
    personnel acting at my direction from the indicated URLs.
        28.    Attached hereto as Exhibit 146 is a true and correct copy of the Corrected Reply Brief
    to Opposition to Motion for Preliminary Injunction, filed by Liberty Media in Liberty Media
    Holdings, L.L.C. v. Hotfile.com, et al., No. 3:09-CV-2396-D (N.D. Tex.), on February 10, 2010
    (Dkt. # 47).
        29.    Attached hereto as Exhibit 147 is a true and correct copy of a document produced by
    plaintiff Disney Enterprises, Inc. bearing bates label DISNEY000288.
        30.    Attached hereto as Exhibit 148 is a true and correct copy of a document produced by
    plaintiff Disney Enterprises, Inc. bearing bates label DISNEY000234.
        31.    Attached hereto as Exhibit 149 is a true and correct copy of a document produced by
    plaintiff Twentieth Century Fox Film Corporation bearing bates label FOX003228.
        32.    Attached hereto as Exhibit 150 is a true and correct copy of a document produced by
    plaintiff Warner Bros. Entertainment Inc. bearing bates label WARNER000001.
        33.    The files identified in Plaintiffs’ Supplemental Response to Interrogatory No. 1
    (attached as Yeh Ex. 119 to my previous declaration) do not purport to be all plaintiffs’ works
    that have been infringed through the Hotfile Website. Upon receiving the Courts’ Order on
    Defendants’ Motion to Compel (Dkt. # 147), plaintiffs had a very limited period of time to


                                                     3
Case 1:11-cv-20427-KMW Document 400 Entered on FLSD Docket 03/21/2012 Page 25 of 25



    analyze Hotfie's data which had only recently been produced - to identify instances of
   plaintiffs' copyrighted works on the Hotfile Website. Moreover, plaintiffs did not have access to
   all of Hotfle' s content files for review at that time. Thus, the files identified in Plaintiffs'
   Supplemental Response to Interrogatory NO.1 represent only a portion of                                         the fies containing

   plaintiffs' works that were on Hotfile. Additionally, plaintiffs' interrogatory response only
   identifies copyrighted works of which the rights are held by one of the plaintiff companies. It
   does not include copyrighted works owned by plaintiffs' affliates that are being infringed


          34. I understand from Hotfile's Statement of                           Undisputed Material Facts in Support of                 its
   Motion and Memorandum of Law for Partial Summary Judgment Based on the Digital
   Millennium Copyright Act Safe Harbor ("HF SUF") that Hotfile claims to have made certain
   changes to its system in February 2012, including allegedly adopting the Vobile vCloud9
   technology and modifying its Affiliate and repeat infringer policy. See HF SUF 27, 28. Fact
   discovery in this case closed on December 23,2011, and plaintiffs have not had the opportunity
   to pursue discovery on any of                  these changes purportedly made to Hotfile's system in February
   2012.



   I declare under penalty of perjury that the foregoing is true and correct.




                                                 Executed on March 7, 2012.




                                                                             4
